                                          UNITED STATES BANKRUPTCY COURT
                                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                                  SOUTHERN DIVISION


IN RE: Michael D. Bommer                                                             CHAPTER 13
                                                                                     CASE NO. 15-30151
                                                                                     JUDGE Daniel S Opperman
Debtor,
___________________________________/
                                                  ORDER CONFIRMING PLAN


        The Debtor's Chapter 13 plan was duly served on all parties in interest. A hearing on confirmation of the plan was held
after due notice to parties in interest. Objections, if any, have been resolved. The Court hereby finds that each of the
requirements for confirmation of a Chapter 13 plan pursuant to 11 U.S.C. §1325(a) are met.
        Therefore, IT IS HEREBY ORDERED that the Debtor's Chapter 13 plan, as last modified, if at all, is confirmed.

         IT IS FURTHER ORDERED that the claim of attorney for the Debtor, for the allowance of compensation and reimbursement of
expenses is allowed in the total amount of $ 3,000.00 in fees and $310.00 in expenses, and that the portion of such claim which has not
already been paid, to-wit: $3,000.00 shall be paid by the Trustee as an administrative expense of this case.

         IT IS FURTHER ORDERED that the Debtor shall maintain all policies of insurance on all property of the Debtor and this
estate as required by law and contract.
         All filed claims to which an objection has not been filed are deemed allowed pursuant to 11 U.S.C. §502(a), and the
Trustee is therefore ORDERED to make distributions on these claims pursuant to the terms of the Chapter 13 plan, as well as
all fees due the Clerk pursuant to statute.

      IT IS FURTHER ORDERED, as follows: [Only provisions checked below apply]
X The Debtor shall remit 0% of all tax refunds received or entitled to after commencement of the case, and shall not alter any
  withholding deductions/exemptions without Court approval.
X The Debtor's Plan shall continue for no less than 60 months.
  The Debtor's Plan payments shall be increased to 0 per month effective the day of               .
X Other : The debtor will pay a minimum of $23,000.00 plus 3% interest to unsecured creditors or no discharge will not
          enter.
X         The debtor’s plan shall continue for no less than 60 month or no discharge shall enter.


APPROVED:                                                     APPROVED:

/s/ Carl L. Bekofske                                        /s/ Curtis L Zaleski
CARL L.BEKOFSKE (P10645)                                    CURTIS L. ZALESKI (P53534)
CHAPTER 13 TRUSTEE                                          ATTORNEY FOR DEBTOR
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Signed on August 20, 2015
                                                                        ____ _/s/ Daniel S. Opperman_    __
                                                                             Daniel S. Opperman
                                                                             United States Bankruptcy Judge




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